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8
                           UNITED STATES DISTRICT COURT
9
                          EASTERN DISTRICT OF CALIFORNIA
10

11                                 ----oo0oo----

12
     JOHN HESSELBEIN,                      CIV. NO. 2:11-2157 WBS AC
13
                    Plaintiff,             MEMORANDUM AND ORDER
14
           v.
15
     PAUL BECKHAM,
16
                     Defendant.
17

18                                 ----oo0oo----
19
                 After a four-day jury trial, the jury returned a
20
     verdict in favor of defendant Elk Grove Police Officer Paul
21
     Beckham on plaintiff John Hesselbein’s 42 U.S.C. § 1983 claim for
22
     excessive force in violation of the Fourth Amendment.           Plaintiff
23
     now renews his motion for judgment as a matter of law pursuant to
24
     Federal Rule of Civil Procedure 50(b) and, alternatively, moves
25
     for a new trial under Rule 59.
26
     I.    The Incident
27

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1
                 On January 30, 2011, plaintiff’s ex-wife called for
2
     emergency assistance because of a domestic dispute.          The
3
     information dispatched to the officers about the call indicated
4
     that his ex-wife said plaintiff had been drinking and was on
5
     parole for murder, which was later corrected to confirm that
6
     plaintiff had been convicted of involuntary manslaughter.             (Tr.
7
     at 154:19-25, 251:5-6.)      The officers were also informed that
8
     plaintiff was associated with the Sac Town Crips street gang in
9
     1994.   (Id. at 197:22-198:9.)      When defendant arrived at the
10
     scene, plaintiff had voluntarily exited his home and walked into
11
     the middle of the street at the demand of other officers.            (Id.
12
     at 156:8-157:5, 200:8-18.)       Prior to plaintiff voluntarily
13
     exiting his home, Officer Jimenez said he had seen plaintiff with
14
     a gun, but none of the officers saw a gun in plaintiff’s hands
15
     when he surrendered.      (Id. at 281:3-15.)
16
                 When plaintiff was kneeling in the street, Officer
17
     Andrew Bornhoeft handcuffed plaintiff’s “wrists behind his back”
18
     with his palms facing out and the back of his hands together.
19
     (Id. at 127:8-13.)     He explained that handcuffing an individual
20
     with his palms facing out makes it “harder for that person to
21
     actually grab ahold of something,” including a weapon.             (Id. at
22
     127:18-23.)
23
                 After handcuffing plaintiff and lifting him to a
24
     standing position, Officer Bornhoeft searched him, which
25
     defendant observed.     (Id. at 143:18-21, 200:19-201:2.)          During
26
     trial, Officer Bornhoeft described the search he performed on
27
     plaintiff as being consistent with his training.          The search
28
                                          2
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1
     included checking the front, sides, and back of plaintiff’s
2
     waistband.    (Id. at 134:14-17.)     At the time Officer Bornhoeft
3
     checked plaintiff’s waistband, he was aware of the possibility
4
     that plaintiff might have had a weapon and knew that the
5
     waistband is the “most commonplace for weapons to be concealed.”
6
     (Id. at 134:23-24, 135:6-9.)       After searching plaintiff’s upper
7
     body, Officer Bornhoeft proceeded to search his lower body,
8
     including using a “bladed” technique to search plaintiff’s groin
9
     area.   (Id. at 136:16-19, 137:9-24.)        Although Officer Bornhoeft
10
     testified that his search of plaintiff was “rushed” and did not
11
     include the “crack between [plaintiff’s] buttocks,” he “felt
12
     confident that [his] search was thorough.”         (Id. at 139:7-16,
13
     160:6-10.)
14
                 Plaintiff was then placed in the back of the Unit 94
15
     patrol car.    There was no evidence at trial that any of the
16
     circumstances suggested that plaintiff could have found a weapon
17
     in the backseat of that patrol car.         Officer Bornhoeft continued
18
     to stand by Unit 94 and watch plaintiff, during which time
19
     plaintiff “flopped” over so he was laying diagonally across the
20
     back seat.    (Id. at 142:17-19, 143:16-17, 144:10-19, 188:14-150.)
21
     In this position, the officers were able to observe plaintiff’s
22
     handcuffed hands and the areas around the back of his waistband,
23
     especially because plaintiff’s shirt was raised so that the skin
24
     above his waistline was visible.         (Id. at 205:13-18.)    Neither
25
     Officer Bornhoeft nor any other officer observed anything in
26
     plaintiff’s hands or the outline of a firearm beneath plaintiff’s
27
     clothing.     (Id. at 147:18-23, 172:21-25.)
28
                                          3
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1
                 After plaintiff was placed in Unit 94, defendant
2
     returned to his patrol car when he “heard some commotion” and saw
3
     “Officer Robinson get out of the car, [with] his weapon drawn and
4
     pointed to the back seat of” Unit 94.         (Id. at 260:17-21.)
5
     Defendant testified that he heard Officer Robinson saying
6
     something about plaintiff still having a gun and defendant
7
     thought it was “possibl[e]” plaintiff had a gun.          (Id. at 261:9-
8
     13, 280:1-281:2.)     None of the officers, including defendant,
9
     heard plaintiff state that he intended or wanted to shoot anyone.
10
     (See id. at 175:1-3, 181:25-182:5, 188:9-10.)
11
                 At this point, defendant returned to Unit 94 with his
12
     assault rifle drawn and stood at the open door approximately five
13
     feet from plaintiff.      (Id. at 146:22-147:4, 261:19-21.)          When
14
     defendant arrived at the patrol car, plaintiff was making a
15
     “shrugging” movement with his shoulders and other officers were
16
     yelling at him to stop moving.       (Id. at 179:12-17, 263:15-3.)
17
     Defendant explained that he “was there to provide cover while
18
     [the officers] tried to formulate how [they] were going to get
19
     [plaintiff] out of the vehicle.”         (Id. at 262:4-6.)   No plan,
20
     however, was ever discussed.
21
                 With his assault rifle aimed at plaintiff’s head,
22
     defendant instructed plaintiff to stop moving about two times and
23
     then told plaintiff to stop moving or he would “peel [his]
24
     grape.”    (Id. at 165:6-8.)     Plaintiff did not cease the
25
     “shrugging” movement.      (Id. at 180:8-10, 206:4.)      According to
26
     defendant, “[i]mmediately after [he] told [plaintiff] [he] was
27
     going to peel his grape,” plaintiff looked at defendant and “made
28
                                          4
     Case 2:11-cv-02157-WBS-AC Document 108 Filed 03/09/16 Page 5 of 25


1
     a final hard thrust down into the back of his pants.”           (Id. at
2
     210:14-18.)     Defendant shot plaintiff in the head less than one
3
     second after defendant “completely lost sight of [plaintiff’s]
4
     hands.”    (Id. at 187:23-25, 210:19-21, 213:3-5.)        Defendant
5
     testified that he intended for the shot to be fatal and only
6
     fired a single shot because he thought he had killed plaintiff.
7
     (Id. at 181:18-19, 213:9-13, 267:19-25.)
8
                 The time between when defendant returned to Unit 94 and
9
     shot plaintiff was about one to two minutes and the lighting was
10
     “pretty good” because of street lights and other officers’ use of
11
     flashlights.     (Id. at 184:18-21, 202:4-7.)      Before shooting
12
     plaintiff, defendant had a clear view of plaintiff’s hands, (id.
13
     at 205:4-6), and never saw a gun or what he thought was a gun in
14
     plaintiff’s hands or clothing, and none of the officers told
15
     defendant that they had seen a gun in plaintiff’s hands after he
16
     was searched.     (Id. at 182:8-18, 187:14-16, 188:6-8, 197:15-18,
17
     205:19-21.)     Defendant also knew plaintiff had been searched
18
     prior to being placed in the patrol car and believed he had been
19
     searched for a weapon.      (Id. at 196:11-14, 200:25-201:2, 264:15-
20
     17.)   Defendant conceded that he did not have any reason to
21
     believe that Officer Bornhoeft performed a poor search and that
22
     “nothing [] jumped out at [him] at that time” as giving him
23
     concern that plaintiff was not properly searched.          (Id. 197:12-
24
     14, 201:10-12.)     Defendant also knew that plaintiff had
25
     voluntarily surrendered and was under the influence of a
26
     significant amount of alcohol.       (Id. at 200:16-18, 211:22-212:8.)
27
                 Defendant testified that he believed plaintiff posed an
28
                                          5
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1
     imminent threat of death or great bodily injury to himself and
2
     the other officers because “there was some uncertainty as to
3
     whether he still had a weapon” and plaintiff did not cease
4
     “reaching into the back of his pants” when told to stop moving.
5
     (Id. at 186:16-25.)     Defendant claimed he “thought [he] was about
6
     to be shot.”    (Id. at 267:17-18.)      According to defendant, he
7
     “perceived that [plaintiff] was trying to grab something out of
8
     the back of his pants” and “it was possibly a gun.”          (Id. at
9
     187:10-12.)
10
                 During the entire incident, defendant’s patrol car was
11
     parked in the line of sight of Unit 94 and equipped with a video
12
     camera.     (Id. at 235:18-22.)    Although part of the incident is
13
     recorded, defendant manually turned off his video camera after
14
     plaintiff was placed in Unit 94 even though department policy
15
     required that recording continue until the arrestee had been
16
     transported.    (Id. at 237: 14-19.)      Defendant testified he ceased
17
     recording at that time because plaintiff had been taken into
18
     custody and he felt the scene had been stabilized, even though he
19
     had not yet gotten in his car to leave.         (Id. at 237:11-24,
20
     238:2-5.)     About one-and-a-half minutes after the shooting,
21
     defendant resumed recording and thus the shooting was not
22
     recorded.     (Id. at 275:20-276:1, 276:16-23.)      The shot to
23
     plaintiff’s head was not fatal, and it was later determined that
24
     plaintiff did not have a gun on him.
25
     II.   Discussion
26
                 Plaintiff now renews his Rule 50(b) motion for judgment
27

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                                          6
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1
     as a matter of law on the ground that there is not a legally
2
     sufficient basis for the jury’s verdict.         Alternatively,
3
     plaintiff moves for a new trial under Rule 59 on the following
4
     grounds: (1) the admission of impermissible character evidence
5
     about defendant; (2) Officer Bornhoeft’s testimony that he would
6
     have shot plaintiff; (3) defense counsel’s misleading reference
7
     to a murder conviction; (4) defense counsel’s suggestion of
8
     perjury by plaintiff; (5) defense counsel’s “send a message”
9
     statement during closing argument; (6) a minor alleged error in
10
     the jury instructions; (7) the court’s “state of mind” limiting
11
     instructions; and (8) the verdict is contrary to the clear weight
12
     of the evidence.
13
           A.    Rule 50 Renewed Motion for Judgment as a Matter of Law
14
                 “In considering a Rule 50(b)(3) motion for judgment as
15
     a matter of law, the district court must uphold the jury’s award
16
     if there was any ‘legally sufficient basis’ to support it.”
17
     Experience Hendrix L.L.C. v. Hendrixlicensing.com Ltd, 762 F.3d
18
     829, 842 (9th Cir. 2014) (quoting Kode v. Carlson, 596 F.3d 608,
19
     612 (9th Cir. 2010) (per curiam)).        “When reviewing the record as
20
     a whole, ‘the court must draw all reasonable inferences in favor
21
     of the nonmoving party,’ keeping in mind that ‘“[c]redibility
22
     determinations, the weighing of the evidence, and the drawing of
23
     legitimate inferences from the facts are jury functions, not
24
     those of a judge.”’”      Hangarter v. Provident Life & Acc. Ins.
25
     Co., 373 F.3d 998, 1005 (9th Cir. 2004) (quoting Reeves v.
26
     Sanderson Plumbing Prods., Inc., 530 U.S. 133, 150 (2000)).
27
     “Judgment as a matter of law is proper if the evidence, construed
28
                                          7
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1
     in the light most favorable to the nonmoving party, permits only
2
     one reasonable conclusion, and that conclusion is contrary to the
3
     jury’s.”    McEuin v. Crown Equip. Corp., 328 F.3d 1028, 1036 (9th
4
     Cir. 2003) (internal quotation marks and citation omitted).
5
                 As the jury was instructed, the Fourth Amendment
6
     requires that any use of force must be “‘objectively reasonable’
7
     under all of the circumstances.”         (Jury Instr. No. 10); accord
8
     Graham v. O’Connor, 490 U.S. 386, 397 (1989).         Determining the
9
     reasonableness of force “requires a careful balancing of the
10
     nature and quality of the intrusion on the individual’s Fourth
11
     Amendment interests against the countervailing governmental
12
     interests at stake.”      Graham, 490 U.S. at 396 (internal quotation
13
     marks and citations omitted).       Reasonableness must be judged
14
     “from the perspective of a reasonable officer on the scene and
15
     not with the 20/20 vision of hindsight” while “consider[ing] all
16
     of the circumstances known to the officer on the scene,
17
     including:”
18
           1. The severity of the crime or other circumstances to
19         which the officer was responding;

20         2. Whether the plaintiff posed an immediate threat to
           the safety of the officer or to others;
21
           3. Whether the plaintiff was actively resisting arrest
22         or attempting to evade arrest by flight;

23         4. The amount of time and any changing circumstances
           during which the officer had to determine the type
24         and amount of force that appeared to be necessary;

25         5. The type and amount of force used;

26         6. The availability of alternative methods; and
27         7. Whether the officer warned plaintiff of the use of
           force, if giving plaintiff a warning was feasible.
28
                                          8
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1
     (Jury Instr. No. 10); accord Liston v. County of Riverside, 120
2
     F.3d 965, 976 (9th Cir. 1997) (citing Graham, 490 U.S. at 388).
3
     The “most important” factor under Graham is whether the suspect
4
     posed an “immediate threat to the safety of the officers or
5
     others.”    Smith v. City of Hemet, 394 F.3d 689, 702 (9th Cir.
6
     2005) (internal quotation marks and citation omitted).
7
                 The Ninth Circuit has repeatedly held that “[a]n
8
     officer’s use of deadly force is reasonable only if the officer
9
     has probable cause to believe that the suspect poses a
10
     significant threat of death or serious physical injury to the
11
     officer or others.”     Gonzalez v. City of Anaheim, 747 F.3d 789,
12
     793 (9th Cir. 2014) (internal quotation marks and citation
13
     omitted); see also Price v. Sery, 513 F.3d 962, 970 (9th Cir.
14
     2008) (holding that “probable cause” and “reasonable belief” are
15
     synonymous when assessing the nature of a threat giving rise to
16
     the use of deadly force).1
17
                  “‘A simple statement by an officer that he fears for
18
     his safety or the safety [of] others is not enough; there must be
19
           1
               While the Ninth Circuit has overruled its prior holding
20   that a “deadly force” instruction is mandatory, see Acosta v.
     Hill, 504 F.3d 1323, 1324 (9th Cir. 2007), it has still held that
21
     the use of deadly force violates the Fourth Amendment unless “the
22   officer has probable cause to believe that the suspect poses a
     significant threat of death or serious physical injury to the
23   officer or others.” Gonzalez, 747 F.3d at 793; see also Scott,
     550 U.S. at 394-95 (“Although [Tennessee v. Garner, 471 U.S. 1
24   (1985)] may not, as the [majority] suggests, ‘establish a magical
     on/off switch that triggers rigid preconditions’ for the use of
25   deadly force, it did set a threshold under which the use of
26   deadly force would be considered constitutionally unreasonable:
     ‘Where the officer has probable cause to believe that the suspect
27   poses a threat of serious physical harm, either to the officer or
     to others, it is not constitutionally unreasonable to prevent
28   escape by using deadly force.’”) (Stevens, J., dissenting).
                                     9
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1
      objective factors to justify such a concern.’”         Bryan v.
2
      MacPherson, 630 F.3d 805, 826 (9th Cir. 2010) (quoting Deorle v.
3
      Rutherford, 272 F.3d 1272, 1281 (9th Cir. 2001)).          Under the
4
      objective inquiry governing the Fourth Amendment, “a law
5
      enforcement officer’s use of force will be justified, or not, by
6
      what that officer reasonably believed about the circumstances
7
      confronting him.”     Price, 513 F.3d at 968 (emphasis added).
8
                  Here, it is undisputed that plaintiff was searched
9
      prior to being placed in Unit 94 and, although the search may
10
      have been rushed, Officer Bornhoeft testified that he was looking
11
      for a gun in his thorough search that included plaintiff’s groin
12
      and waistband.    After being searched, plaintiff was placed in the
13
      back of the secure patrol car and, because he “flopped” over, his
14
      hands, waistband, and backside were visible to the officers.           Not
15
      a single officer testified that he saw anything even giving rise
16
      to the suspicion that plaintiff had a gun in the crack of his
17
      buttocks.
18
                  Although one officer claimed he saw plaintiff holding a
19
      gun before plaintiff voluntarily surrendered, none of the
20
      officers saw plaintiff holding a gun when he voluntarily exited
21
      his home.    The evidence at trial was that plaintiff could have
22
      hidden the gun anywhere in his house before surrendering and
23
      defendant testified that it was not surprising that their quick
24
      search of the home did not uncover a gun.        (Tr. at 257:19-
25
      258:13.)
26
                  When he returned to Unit 94 with his assault rifle
27
      drawn, defendant then learned that another officer said plaintiff
28
                                          10
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1
      had said he had a gun.     Not a single officer testified that
2
      plaintiff said he had a gun on his person or somehow hidden in
3
      the crevice of his buttocks.      Neither defendant nor any of the
4
      officers were aware of any other fact that tended to suggest that
5
      the intoxicated and slender individual who had been searched
6
      somehow secreted a gun in the crack of his buttocks.
7
                 Under the circumstances of this case, where plaintiff
8
      had been thoroughly searched for a weapon and was handcuffed in
9
      the back of a secure patrol car, it would seem to the court that
10
      the only reasonable response to the statement, “I have a gun”
11
      would be for an officer to ask, “Where?”        Given that plaintiff
12
      had been seen with a gun in his hand before he voluntarily
13
      surrendered, it was entirely likely that plaintiff was telling
14
      the officers that there was a gun in his house.         When the
15
      officers knew that plaintiff’s two-year-old son was still in the
16
      house, his concern that the officers remove a gun before taking
17
      him into custody would be entirely understandable.          The point is
18
      not that the officers should have known what plaintiff meant, but
19
      it would appear to the court that the only reasonable response
20
      under the circumstances of this case would have been to ask
21
      plaintiff where he had a gun before shooting him in the head.
22
      The court simply does not understand how a jury could find from
23
      the evidence presented in this case that a reasonable officer
24
      would have believed plaintiff had a gun hidden in the crack of
25
      his buttocks based exclusively on the improbable statement that
26
      he had a gun.
27
                 Even assuming a reasonable officer would have believed
28
                                          11
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1
      plaintiff had a gun hidden somewhere that was not discovered
2
      during the search, “[t]he mere fact that a suspect possesses a
3
      weapon does not justify deadly force.”        Hayes v. County of San
4
      Diego, 736 F.3d 1223, 1233 (9th Cir. 2013) (internal quotation
5
      marks and citation omitted); see also Harris v. Roderick, 126
6
      F.3d 1189, 1204 (9th Cir. 1997) (“Law enforcement officials may
7
      not kill suspects who do not pose an immediate threat to their
8
      safety or to the safety of others simply because they are
9
      armed.”).   Although plaintiff said he had a gun, he did not
10
      threaten any of the officers or say anything to suggest that he
11
      intended to use the gun to shoot the officers.         By defendant’s
12
      own testimony, it is much more common for someone not to announce
13
      that he has a weapon before attempting to assault officers.          (Tr.
14
      at 196:17-197:2.)
15
                  At most, plaintiff did not stop “shrugging” and
16
      reaching his hands below his waistband over a period that could
17
      not have exceeded two minutes.       Based on this evidence, a
18
      reasonable officer would not have believed that plaintiff posed
19
      an immediate risk to the safety of the officers.         Even assuming a
20
      reasonable officer would have believed plaintiff had a gun in the
21
      crack of his buttocks, plaintiff’s hands were handcuffed behind
22
      his back with his palms facing out and the undisputed testimony
23
      was that this made it more difficult for plaintiff to use his
24
      hands.   (Id. at 127:18-23; see also id. at 306:14-18 (Andrew Hall
25
      testifying, “[When a suspect is handcuffed b]ehind the back with
26
      the palms out, the arms are less mobile, the hands are less
27
      mobile, and seizing anything or doing anything with your hands
28
                                          12
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1
      while they’re behind the back is -- is very, very difficult.”).)
2
      In order to pose a risk to the officers, plaintiff would have had
3
      to somehow retrieve the gun with one hand from its clandestine
4
      location, manage to aim it from behind his back in the direction
5
      of the officers without shooting himself, and somehow pull the
6
      trigger before any of officers surrounding the car could respond.
7
      It boggles the court’s mind how the jury could find plaintiff
8
      posed an immediate threat to the officers under these facts.
9
                 Nor do the other Graham factors shed light on how the
10
      jury reached the verdict it did.         First, the inquiry considers
11
      the “severity of the crime or other circumstances to which the
12
      officer was responding.”      (Jury Instr. No. 10.)      While defendant
13
      testified that a domestic violence call is not a “run-of-the-
14
      mill” call because there has already been violence, (Tr. at
15
      250:1-4), any dispute had ended and plaintiff had voluntarily
16
      exited his home by the time defendant arrived and defendant
17
      testified that the situation had stabilized.         While a reasonable
18
      officer may have perceived some heightened risk that evening due
19
      to the information relayed to the officers by dispatch, plaintiff
20
      had been searched, handcuffed, and placed in the back of a secure
21
      patrol car at the time defendant used excessive force.          The
22
      severity of the crime and circumstances were low at the time
23
      defendant shot plaintiff in the head.
24
                 “Whether the plaintiff was actively resisting arrest
25
      or attempting to evade arrest by flight” is also relevant to the
26
      inquiry.   There is no argument this factor could weigh in favor
27

28
                                          13
     Case 2:11-cv-02157-WBS-AC Document 108 Filed 03/09/16 Page 14 of 25


1
      of defendant as plaintiff was handcuffed and in custody when
2
      defendant used deadly force.
3
                 “[While] police officers need not employ the least
4
      intrusive degree of force . . . the presence of feasible
5
      alternatives is a factor to include in [the] analysis.”            Bryan,
6
      630 F.3d at 813 (Wardlaw, J., concurring in the denial of
7
      rehearing en banc) (internal quotation marks, citations, and
8
      emphasis omitted); (see also Jury Instr. No. 10 (instructing the
9
      jury to consider “[t]he availability of alternative methods”).)
10
      At trial, plaintiff’s expert Andrew Hall, who had almost thirty
11
      years of experience as a police officer, opined that the
12
      circumstances of this incident, including that plaintiff had been
13
      searched, handcuffed, and placed in the patrol car, provided the
14
      officers with “a lot of alternatives.”        (Tr. at 307:20.)       For
15
      example, Hall testified that the officers could have closed the
16
      door to the patrol car and stepped behind the car to formulate a
17
      plan or that they could have put tear gas in the car, used an
18
      impact weapon, or a canine.      (Id. at 309:10-310:14, 313:10-18.)
19
      They could have also gone to the side of the car nearest
20
      plaintiff’s head and attempted to extract him, which the
21
      testimony at trial revealed was what Sergeant Mike Iannone was
22
      attempting to do until defendant told him to step away because he
23
      was in defendant’s line of fire.         (Id. at 311:12-312:21.)
24
                 Although shooting plaintiff in the head may have been
25
      the quickest way to respond to the possibility plaintiff had a
26
      gun, “[a] desire to resolve quickly a potentially dangerous
27

28
                                          14
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1
      situation is not the type of governmental interest that, standing
2
      alone, justifies the use of force that may cause serious injury.”
3
      See Bryan, 630 F.3d at 826 (internal quotation marks and citation
4
      omitted).
5
                  The inquiry also considers “[t]he amount of time and
6
      any changing circumstances during which the officer had to
7
      determine the type and amount of force that appeared to be
8
      necessary.”    (Jury Instr. No. 10.)     Hall testified at trial that
9
      the circumstances, including the fact that plaintiff was in a
10
      secured environment from which he could not escape, gave the
11
      officers ample time to formulate a plan before immediately
12
      resorting to deadly force.      (Tr. at 310:13-25.)     There was no
13
      evidence to dispute this testimony.
14
                  “Whether the officer warned plaintiff of the use of
15
      force, if giving plaintiff a warning was feasible” is also
16
      relevant to reasonableness.      (Jury Instr. No. 10); see also
17
      Gonzalez, 747 F.3d at 797 (“The absence of a warning does not
18
      necessarily mean that [the] use of deadly force was
19
      unreasonable[,] . . . [but when giving] a warning was
20
      practicable[,] the failure to give one might weigh against
21
      reasonableness.”).     This factor could weigh in favor of defendant
22
      because defendant did tell plaintiff to stop moving or “I’ll peel
23
      your grape,” if anybody knew what that meant.         Defendant
24
      testified he believed “peel your grape” is “street vernacular”
25
      for shooting someone in the head, even though he had admittedly
26
      never heard the saying used in the five years prior to the
27
      incident.   (Tr. at 209:3-5, 266:15-21.) Plaintiff’s expert, who
28
                                          15
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1
      had served as a sworn police officer for almost thirty years and
2
      retired as the Chief of Police of Westminster, (id. at 298:12-
3
      16), testified that he had heard “peel your grape” as vernacular,
4
      but did not understand it to mean shooting someone in the head.
5
      (Id. at 352:5-7.)     The court is skeptical as to whether a
6
      reasonable officer would expect this baffling expression to
7
      provide a genuine warning.
8
                  Based on all of these circumstances, the court does not
9
      understand how the jury found that a reasonable officer would
10
      have perceived plaintiff as posing an imminent threat
11
      necessitating the immediate use of deadly force one second after
12
      plaintiff’s hands were no longer visible despite the fact that he
13
      had been searched and was handcuffed in the back of a patrol car
14
      and not a single officer observed anything resembling a gun.
15
                  Nonetheless, the court must respect the jury’s
16
      decision.    The Seventh Amendment entitled both parties to a jury,
17
      Buckles v. King County, 191 F.3d 1127, 1140 (9th Cir. 1999), and
18
      both parties exercised that right, (Docket No. 53).          “[A] decent
19
      respect for the collective wisdom of the jury, and for the
20
      function entrusted to it in our system, certainly suggests that
21
      in most cases the judge should accept the findings of the jury,
22
      regardless of his own doubts in the matter.”         Landes Const. Co.
23
      v. Royal Bank of Canada, 833 F.2d 1365, 1371 (9th Cir. 1987)
24
      (internal quotation marks and citation omitted).         On the narrow
25
      inquiry under Rule 50, moreover, the court must accept the
26
      inferences and findings that the jury apparently drew even if the
27
      court does not agree with or understand them.         Under this
28
                                          16
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1
      extremely deferential review, the court cannot find that there is
2
      no legally sufficient basis for the jury’s verdict and must
3
      therefore deny plaintiff’s renewed motion for judgment as a
4
      matter of law.
5
           B.    Rule 59 Motion for a New Trial
6
                 Pursuant to Rule 59, a “court may, on motion, grant a
7
      new trial . . . after a jury trial, for any reason for which a
8
      new trial has heretofore been granted in an action at law in
9
      federal court.”    Fed. R. Civ. P. 59(a)(1)(A).       Rule 59 does not
10
      specify the grounds on which a motion for a new trial may be
11
      granted, and thus “the court is bound by those grounds that have
12
      been historically recognized.”       Molski v. M.J. Cable, Inc., 481
13
      F.3d 724, 729 (9th Cir. 2007) (internal quotation marks and
14
      citations omitted).     “[E]ven if substantial evidence supports the
15
      jury’s verdict, a trial court may grant a new trial if ‘the
16
      verdict is contrary to the clear weight of the evidence, or is
17
      based upon evidence which is false, or to prevent, in the sound
18
      discretion of the trial court, a miscarriage of justice.’”
19
      Silver Sage Partners, Ltd. v. City of Desert Hot Springs, 251
20
      F.3d 814, 819 (9th Cir. 2001) (quoting United States v. 4.0 Acres
21
      of Land, 175 F.3d 1133, 1139 (9th Cir. 1999)).
22
                 “Unlike with a Rule 50 determination, the district
23
      court, in considering a Rule 59 motion for new trial, is not
24
      required to view the trial evidence in the light most favorable
25
      to the verdict.    Instead, the district court can weigh the
26
      evidence and assess the credibility of the witnesses.”
27
      Experience Hendrix L.L.C., 762 F.3d at 842.         The Ninth Circuit
28
                                          17
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1
      has emphasized that, under Rule 59, the district court has “‘the
2
      duty . . . to weigh the evidence as [the court] saw it, and to
3
      set aside the verdict of the jury, even though supported by
4
      substantial evidence, where, in [the court’s] conscientious
5
      opinion, the verdict is contrary to the clear weight of the
6
      evidence.’”    Molski, 481 F.3d at 729 (quoting Murphy v. City of
7
      Long Beach, 914 F.2d 183, 187 (9th Cir. 1990) (omission and
8
      alterations in original).      At the same time, “a district court
9
      may not grant a new trial simply because it would have arrived at
10
      a different verdict.”     Silver Sage Partners, Ltd., 251 F.3d at
11
      819.
12
                 In Gates v. Rivera, the Ninth Circuit held that an
13
      officer’s testimony that he had not previously shot anyone is
14
      inadmissible because “[c]haracter evidence is normally not
15
      admissible in a civil rights case.”       993 F.2d 697, 700 (9th Cir.
16
      1993); see also Fed. R. Evid. 404(a)(1) (“Evidence of a person’s
17
      character or character trait is not admissible to prove that on a
18
      particular occasion the person acted in accordance with the
19
      character or trait.”); Fed. R. Evid. 404 advisory committee’s
20
      note (“The Rule has been amended to clarify that in a civil case
21
      evidence of a person’s character is never admissible to prove
22
      that the person acted in conformity with the character trait.”).
23
      As the Ninth Circuit explained, “The question to be resolved was
24
      whether, objectively, [the officer’s] use of force had been
25
      excessive,” and thus the officer’s “past conduct d[oes] not bear
26
      on that issue.”    Gates, 993 F.2d at 700.
27

28
                                          18
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1
                 Despite Gates’s clear holding, defense counsel began
2
      his cross-examination of defendant by establishing that the
3
      defendant had never shot anyone prior to shooting plaintiff:
4
           Q. Officer Beckham, as you sit here today, how long
5          have you been a police officer?

6          A. Over 13 years.

7          Q. During your 13-year career, how many arrests would
           you say you’ve made?
8
           A. More than a thousand.
9
           Q. Of those arrests that you’ve made, how many of
10         those do you think involved a suspect either having a
           gun or claiming to have a gun?
11
           A. Possibly between 150 to 200. Possibly.
12
           Q. Other than this incident on January 30, 2011, had
13         you ever -- have you ever shot anybody?

14         A. No, sir.

15
      (Tr. 247:21-248:8.)
16
                 Plaintiff’s counsel objected and moved to strike the
17
      question and answer and the court sought guidance from
18
      plaintiff’s counsel as to whether the evidence was relevant
19
      before ruling on the objection.       Instead of articulating why the
20
      evidence was not relevant as the court requested, plaintiff’s
21
      counsel simply assumed the court had ruled and said the question
22
      was “fine”:
23
           MR. KATZ: Objection, Your Honor.         Relevance.     Move to
24         strike.
25         THE COURT: I suppose the point is that all these other
           people that claimed they had guns didn’t get shot.
26
           MR. PRAET: Exactly.
27
           THE COURT: Would that be relevant or not, Mr. Katz?
28         Do you think that might be relevant?
                                      19
     Case 2:11-cv-02157-WBS-AC Document 108 Filed 03/09/16 Page 20 of 25


1
           MR. KATZ: The Court has ruled, Your Honor.         That’s
2          fine.

3          THE COURT: I don’t know.      I’m just trying to --

4          MR. KATZ: That’s fine.

5          THE COURT: -- think it through.            I’ll overrule the
           objection.
6
      (Id. at 248:6-21.)     Had plaintiff cited Gates during trial or had
7
      not given up on his objection before the court had a chance to
8
      rule on it, the court would have stricken defendant’s testimony
9
      about his past conduct.
10
                 Nonetheless, the jury’s consideration of this
11
      impermissible character evidence merits a new trial unless the
12
      error was harmless.     Gates, 993 F.2d at 700.      “In answering this
13
      question [the court] must undertake a review of the trial as a
14
      whole and look at the case as it would have stood if [the
15
      officer’s] answers had not been in evidence.”         Id.   This
16
      “hypothetical” inquiry seeks to “ascertain the likelihood that
17
      these particular jurors in this particular case were influenced
18
      in their verdict by the improperly-admitted answers.”            Id.   In
19
      Gates, the Ninth Circuit ultimately concluded that, under the
20
      circumstances of that case, the officer’s “self-serving testimony
21
      about his past conduct with guns did not enhance his
22
      credibility.”    Id. at 700-01.
23
                 Here, however, the court cannot find that these
24
      particular jurors in this case were not improperly influenced by
25
      the inadmissible character evidence.        Crucial to the jury’s
26
      verdict was whether the jury found that a reasonable officer
27
      would have believed that plaintiff in fact had a gun.            At trial,
28
                                          20
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1
      defendant testified that he thought he was going to get shot
2
      merely because it was “possible” plaintiff had a gun.          Based on
3
      all of the circumstances and his demeanor while testifying, the
4
      court believes that even though defendant may have thought it was
5
      possible plaintiff had a gun, he must have believed it was more
6
      probable that plaintiff did not, and thus his claimed fear that
7
      he was going to get shot was not credible.2
8
                 Unlike in Gates where there was physical evidence
9
      corroborating the officer’s fear, see id. at 700, there was not a
10
      single piece of physical evidence that corroborated defendant’s
11
      fear in this case.     Defendant relied exclusively on an ambiguous
12
      statement and a shrugging movement by an individual who had been
13
      searched for a weapon, handcuffed, and placed in the back of a
14
      patrol car.    Notwithstanding the court’s doubt that defendant
15
      truly and reasonably believed plaintiff had a gun, the jury
16
      apparently found his testimony credible and gave it significant
17

18         2
                Plaintiff’s counsel also elicited testimony that
19    undercut the court’s assessment of defendant’s credibility at
      trial. For example, although it cannot be heard on the video and
20    defendant “had a hard time hearing” after the shooting because of
      the “ringing” in his ears from firing his assault rifle, (Tr. at
21
      243:19-21, 246:9-13, 275:22-23), defendant claimed plaintiff said
22    something to the effect of “He did the right thing, I could have
      had a gun” and also that “he wanted to die,” (id. at 277:10-13;
23    see also id. at 244:12-14). While these surprising statements
      cannot be heard in the post-shooting video, instead plaintiff can
24    be heard moaning and expressing his pain and difficulty
      breathing. (Pl.’s Tr. Ex. 57B; Tr. at 243:22-25.) The court did
25    not find this testimony credible and, based on the cross-
26    examination surrounding these statements, believes defendant
      likely fabricated these statements in an effort to justify his
27    use of force. The court was also baffled by defendant’s
      testimony that he said he intended “peel your grape” as a warning
28    that he would shoot plaintiff in the head.
                                      21
     Case 2:11-cv-02157-WBS-AC Document 108 Filed 03/09/16 Page 22 of 25


1
      weight.   Under these circumstances, defendant’s impermissible
2
      character evidence about the fact that he had not shot a suspect
3
      in the 150 to 200 prior arrests in which suspects claimed to have
4
      guns likely affected the jury’s assessment of whether defendant
5
      believed he was going to get shot in this case.
6
                 Not only was it likely that the jury considered this
7
      impermissible character evidence in assessing defendant’s
8
      credibility, it is also likely the jury improperly considered the
9
      testimony on the ultimate issue of reasonableness.          When the
10
      court asked defense counsel at oral argument on this motion why
11
      defendant’s past conduct was relevant, counsel argued that the
12
      fact defendant has never shot anyone shows that defendant is an
13
      objectively reasonable officer.       The controlling inquiry is
14
      whether an objectively reasonable officer under the same or
15
      similar circumstances would have shot the plaintiff, not whether
16
      defendant is or was a reasonable officer.        It would have been
17
      entirely impermissible for the jury to infer that because
18
      defendant had never shot anyone in the past, his decision to do
19
      so in this case must have been necessary or reasonable.          This is
20
      precisely the improper inference defense counsel invokes to argue
21
      that the character evidence was relevant.
22
                 The prejudice from allowing the jury to consider such
23
      past conduct is also illustrated by Dupard v. Kringle.          In that
24
      case, the plaintiff alleged the defendants used excessive force
25
      against him and the district court allowed the defendants to put
26
      forth evidence at trial showing that excessive force complaints
27
      had never been lodged against them before the incident with
28
                                          22
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1
      plaintiff.    See Dupard v. Kringle, 76 F.3d 385, at *1, *3 (9th
2
      Cir. 1996).     The Ninth Circuit reversed the judgment and remanded
3
      for a new trial based on the jury’s consideration of that
4
      evidence.    Id. at *4.   The Ninth Circuit explained that such
5
      testimony was inadmissible character evidence because the “only
6
      relevance of testimony that the marshals had never had excessive
7
      force complaints filed against them was as proof that, in the
8
      instance at issue, they did not use excessive force against
9
      [plaintiff].”    Id. at *3.    It concluded that a new trial was
10
      necessary because it could not “say that it is unlikely that the
11
      jury’s verdict in favor of the marshals was not substantially
12
      influenced by the jury’s knowledge that the marshals had never
13
      had excessive force complaints lodged against them.”          Id. at *4.
14
      Although Dupard is unpublished and therefore not precedent, it
15
      confirms the weight such impermissible character evidence likely
16
      had in this case.
17
                  In the ordinary case where the evidence to support the
18
      verdict is stronger, the court may be able to find with some
19
      level of confidence that self-serving testimony that the
20
      defendant had not shot someone in the past did not improperly
21
      influence the jury.     In this case, however, the court simply
22
      cannot understand how the jury found that a reasonable officer
23
      would have believed plaintiff had a gun and that it was
24
      reasonable to use deadly force against plaintiff when he had been
25
      searched, handcuffed, and placed in the patrol car.          When the
26
      evidence supporting the verdict is as scant as it was in this
27
      case, it is likely that the inadmissible character evidence
28
                                          23
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1
      tipped the scales too far and resulted in what the court believes
2
      is a miscarriage of justice.3
3
                 Accordingly, after undertaking its “‘duty . . . to
4
      weigh the evidence as [the court] saw it,” the jury’s
5
      consideration of inadmissible character evidence causes the court
6
      great concern that a miscarriage of justice occurred and the
7
      court must therefore grant plaintiff’s motion for a new trial.
8
      Molski, 481 F.3d 724, 729 (9th Cir. 2007) (quoting Murphy, 914
9
      F.2d at 187) (omission and alterations in original).
10
                 IT IS THEREFORE ORDERED that plaintiff’s renewed motion
11
      for a judgment as a matter of law be, and the same hereby is,
12
      DENIED; and plaintiff’s motion for a new trial be, and the same
13
      hereby is, GRANTED.
14
                 The Clerk is instructed to vacate the judgment of
15
      November 18, 2015 (Docket No. 94) and this matter is set for a
16
      status conference on March 28, 2016 at 1:30 p.m. to set a new
17
      trial date.
18
      Dated:   March 9, 2016
19

20
21

22

23

24

25

26         3
                Because the court will grant plaintiff’s motion for a
27    new trial based on the jury’s consideration of the inadmissible
      character evidence, the court need not address plaintiff’s
28    remaining arguments in favor of a new trial.
                                      24
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